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                                   3                               UNITED STATES DISTRICT COURT

                                   4                            NORTHERN DISTRICT OF CALIFORNIA

                                   5                                    SAN JOSE DIVISION

                                   6
                                                                                      Case Nos. 21-cv-07557-BLF
                                   7     WSOU INVESTMENTS LLC,                                  21-cv-07558-BLF
                                   8                  Plaintiff,                                21-cv-07560-BLF
                                                                                                21-cv-07561-BLF
                                   9            v.                                              21-cv-07562-BLF

                                  10     JUNIPER NETWORKS INC,
                                                                                      ORDER GRANTING BROWN
                                  11                  Defendant.                      RUDNICK LLP’S MOTION TO
                                                                                      WITHDRAW AS COUNSEL
                                  12
Northern District of California
 United States District Court




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                                             Before the Court is Brown Rudnick LLP’s (Brown Rudnick) motion to withdraw as
                                  15
                                       counsel for Plaintiff WSOU Investments LLC. See 21-CV-07557, ECF No. 134; 21-CV-07558,
                                  16
                                       ECF No. 128; 21-CV-07560, ECF No. 137; 21-CV-07561, ECF No. 132; 21-CV-07562, ECF No.
                                  17
                                       135. Brown Rudnick’s motion is unopposed.
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                                             Having considered Brown Rudnick’s arguments and good cause appearing, the Court
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                                       GRANTS Brown Rudnick’s motion.
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                                             IT IS SO ORDERED.
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                                       Dated: October 6, 2022
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                                                                                   ______________________________________
                                  24                                               BETH LABSON FREEMAN
                                                                                   United States District Judge
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